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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
Vs. Case No.: 23-cr-00264-GKF-1
APPEARANCE BOND
Daniel Lawrence Charba ,
Defendant(s).

Non-surety: I, the undersigned Defendant acknowledge that I and my...

Surety: We, the undersigned, jointly and severally acknowledge that we and our. . .
personal representatives, jointly and severally, are bound to pay to the United States of America the
sum of $10,000.00, and there has been deposited in the Registry of the court the sum of $-0- in
cash.

The conditions of this bond are that Defendant is to appear before this court, and at such
other places as Defendant may be required to appear, in accordance with any and all orders and
directions relating to Defendant’s appearance in this case, including appearance for violation of a
condition of Defendant’s release as may be ordered or notified by this Court or any other United
States District Court to which Defendant may be held to answer or the cause transferred. Defendant
shall abide by any judgment entered in such a matter by surrendering to serve any sentence imposed
and obeying any order or direction in connection with such judgment.

It is agreed and understood that this is a continuing bond (including any proceeding on
appeal or review) which shall continue until such time as the undersigned are exonerated.

If Defendant appears as ordered or notified and otherwise obeys and performs the foregoing
conditions of this bond, this bond is to be void, but if Defendant fails to obey or perform any of
these conditions, payment of the amount of this bond shall be due forthwith. Forfeiture of this bond
for any breach of its conditions may be declared by any United States District Court having
cognizance of the above entitled matter at the time of such breach and, if the bond is forfeited and
if the forfeiture is not set aside or remitted, judgment maybe entered upon motion in such United
States District Court against each the undersigned jointly and severally for the amount above stated,
together with interest and costs, and execution may be issued and payment secured as provided by
the Federal Rules of Criminal Procedure and any other laws of the United States.

auc ah Ph Surety’s Signature:

Daniel Lawrence Charba Surety’s Address:

Surety’s Phone #:

Date: 8/24/2023 (AL.

Christine D. Little, U.S. Magistrate Judge

IA Arraignment Indictment Release (12/2021)
